        Case 1:19-cv-02108-DLF Document 29-1 Filed 06/10/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CITIZENS UNITED,

               Plaintiff,

        v.                                                Civ. A. No. 19-2108 (DLF)

 U.S. DEPARTMENT OF STATE,

               Defendant.


                                   [PROPOSED] ORDER

       Upon consideration of Defendant’s Status Report dated June 10, 2022, and the entire

record herein, it is ORDERED that Defendant shall file another Status Report on or before

August 17, 2022.




                                            UNITED STATES DISTRICT JUDGE
